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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                             :
                                                         :
                                                         :
                     v.                                  :    Criminal No. 21-MJ-355
                                                         :
                                                         :
    CHRISTOPHER JOSEPH QUAGLIN,                           :
                                                          :
                          Defendant.                      :


                                     GOVERNMENT’S
                               SUPPLEMENTAL MEMORANDUM
                            IN SUPPORT OF PRE-TRIAL DETENTION

           Pursuant to the minute order issued by the court earlier today, the United States of

    America, by and through its attorney, the United States Attorney for the District of Columbia,

    respectfully submits this supplemental memorandum in support of its motion that the defendant,

    Christopher Joseph Quaglin, be detained. 1

           The government submitted the following video exhibits to the court:

               1. Exhibit A - Exhibit A is body worn camera (“BWC”) footage from around 1:37

                   p.m. showing Quaglin threatening the officers and shaking the dividing fence.

                       o Around 20 seconds into the video, it shows Quaglin approaching the
                         police line separated by the fence and engaging with the MPD Officers
                         at the line. Seemingly unprovoked, around a minute and 20 seconds into
                         the video, Quaglin shouts the following statements towards the MPD
                         Officers: “You don’t want this fight. You do not want this fucking fight.
                         You are on the wrong fucking side. You’re going to bring a fucking
                         pistol, I’m going to bring a fucking cannon. You wait! You wait! You

1
 Unfortunately, the undersigned was in witness meetings for an upcoming trial most of the day and did not see the
minute order until 5:10 p.m. As such, the undersigned was unable to comply with the request to file this
supplemental memorandum by 5 p.m.
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             wait! Stay there like a fucking sheep! This guy doesn’t know what the
             fuck is going on.” Several seconds later, Quaglin grabs onto the fence
             and appears to shake it and push against it while the MPD Officers are on
             the other side of the fence.


  2. Exhibit B - Exhibit B is a video of the crowd believed to taken by a USCP officer
     around 2:11 p.m. showing Quaglin shoving a USCP officer.

         o At the beginning of the video, Quaglin can be seen yelling at a USCP
           officer guarding the perimeter of the Capitol, as indicated by the added
           red box around him. At 10 seconds into the video, Quaglin is visible
           shoving a USCP officer. Directly to the right of Quaglin, in a black hat
           and sunglasses, is Nordean (also within the same red box), who grabs
           Quaglin by the shoulder after the push.

  3. Exhibit C - Exhibit C is a video of the crowd believed to taken by a USCP officer
     around 2:14 p.m. It shows Quaglin repeatedly shoving multiple officers,
     including by grabbing one officer near the neck.

         •   At 21 seconds in the video, Quaglin walks through the crowd and
             approaches the USCP Officers located at the police line. At 24 seconds
             in the video, Quaglin then begins to verbally engage a USCP Officer
             (USCP Officer 1). Quaglin continues to get closer to USCP Officer 1
             while appearing increasingly agitated and pointing his finger towards that
             USCP Officer 1.

         o At 28 seconds in the video, Quaglin then proceeds to hold and push USCP
           Officer 1 by the neck, which appeared to contribute to USCP Officer 1
           starting to fall. Members of the crowd and other officers then begin
           fighting briefly and then separate.

         o At 1 minutes and 8 seconds in the video, Quaglin (within an added red
           box) pushes another USCP officer and picks up something. Quaglin
           appears to be yelling at the officers and shaking a glove at them.

         o At 1 minute and 21 seconds in the video, another USCP Officer (USCP
           Officer 2) pushes Quaglin back (as shown within an added red box).

         o At 1 minute and 44 seconds in the video, as numerous rioters are being
           moved back by law enforcement officers, Quaglin appears to physically
           strike and shove USCP Officer 2 (as shown within an added red box).

         o At 1 minute 55 seconds in the video and again at 2 minutes 11 seconds
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             into the video, Quaglin appears to begin yelling at the officers again (as
             shown within an added red box).

         o At 2 minutes and 17 seconds into the video, Quaglin then again physically
           pushes USCP Officer 2 (as shown within an added red box).

         o At 2 minutes and 21 seconds into the video, Quaglin then pushes a
           different USCP officer multiple times (as shown within an added red
           box).

         o At 2 minutes and 36 seconds into the video, Quaglin then walks towards
           another USCP Officer and physically pushes and wrestles with that
           USCP Officer (as shown within an added red box).


  4. Exhibit D - Exhibit D is a video of the crowd believed to taken by a USCP officer
     around 2:17 p.m. It shows Quaglin and other rioters ripping away the fence being
     used to keep the crowd out of the Capitol. At 30 seconds into the video, it shows
     the fence first being pulled away by rioters. At 33 seconds into the video, (as
     shown within an added red box), Quaglin and others can be seen carrying away
     the stolen fence as MPD officers rush forward to get it back.

  5. Exhibit E – Exhibit E is a BWC video clip from around 2:34 p.m. At 4 seconds
     into the video, an unidentified rioter pushes down a USCP officer. Another
     officer steps in front of the fallen officer. At 6 seconds into the video, as shown
     in the still below with a red square added around him, Quaglin can then be seen
     lunging forward and pushing that officer. The MPD officer wearing the BWC
     gets between them. Seconds later he throws his shield to the ground. Additional
     officers drop their shields and Quaglin and other unidentified individuals can
     then be seen picking up the shields and passing them backwards.




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               6. Exhibit F - Exhibit F is a BWC video clip from a different MPD officer at 2:36
                  p.m., when most of the officers had fallen back into a stairwell behind them.
                  Around 20 seconds into the video, Quaglin once again can be seen lunging at an
                  MPD Officer. Other rioters then pull Quaglin back and guard the officers as the
                  officers fall back into a stairwell. 2

               7. Exhibit G- Exhibit G is YouTube Video 1, which shows a large group of rioters
                  that attempted to break through the line of uniformed law enforcement officers
                  who were in place to prevent rioters from entering the Lower West Terrace doors
                  of the United States Capitol.

                         •   The video covers a timespan of approximately 2:51 p.m. to 3:20 p.m.
                             Based on USCP surveillance footage, around 3:03 p.m., Quaglin entered
                             this small tunnel leading to the Lower West Terrace doors and joined the
                             group attempting to break past law enforcement officers guarding the
                             door. As can be seen in the still from that surveillance footage below
                             (from around 3:03 p.m.), the tunnel leading to the Lower West Terrace
                             doors is a very small space. Indeed, the photojournalist filming the video,
                             circled in blue in the still below, was separated by only a few people from
                             Quaglin, in the red box in the still below.




                         •   Quaglin remained at the forefront of that group (and only feet from the
2
 The audio on this BWC appears to have been malfunctioning, as a result you cannot hear what is being said. It
appears that towards the end of the video (after the lunging described above) Quaglin may be trying to get the
officers’ attention to a person on the ground while other rioters put their arms out and tell the officers to go back.
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            photojournalist filming the video) until they were all pushed out of the
            tunnel around 3:20 p.m. (This is shown in the still below from around
            3:18 p.m., with Quaglin again outlined in a red box and the
            photojournalist in a blue circle.)




        •   As a result, although Quaglin is not always visible in every shot of the
            video, from 12 minutes into the video onwards, all of the video is relevant
            to Quaglin’s conduct inside that small space. Even where the video does
            not show his specific actions, it shows who and what he was assisting –
            the other rioters at the front of the line visibly fighting with law
            enforcement, the other rioters using OC spray on the officers, the other
            rioters ripping shields away from officers, and the other rioters using all
            of their collective might to push through the line even as an officer is
            pinned against the door screaming.

        •   The video also specifically captures some of Quaglin’s actions in
            combatting law enforcement that day at multiple points throughout the
            video, as outlined below. (Where possible, the undersigned added a red
            box to indicate Quaglin in the video.) Specifically:

               o At 13:02, just after someone who had been taking photos says “I
                 am out, I am out” and leaves the tunnel, Quaglin is visible near
                 the front of the line of rioters. He can be seen bracing with his
                 right arm around 13:15 as others yell “push.” After rioters
                 successfully rip away a shield from the officers, Quaglin is again
                 briefly visible at the front of the line around 14:52.

               o At 15:20, first the top of Quaglin’s helmet is visible, and then,
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                from 15:29 to 15:52, Quaglin raises his arm and sprays orange gel
                from the OC canister in his hand. He appears to be aiming for
                the faces of the officers in front of him and repeatedly moves his
                arm around, as if to try to get a better angle. At 15:46, he takes
                advantage of the fact that an officer momentarily lowered his
                shield and sprays directly into the face of the officer just a few
                feet in front of him.

             o From 15:53 to 16:25, a rioter behind him begins directing
               everyone to “make a shield wall” and rioters begin moving to the
               front of the line with shields. Quaglin remains visible at the front
               of that line as this occurs.

             o At 16:42, rioters move a shield in front of Quaglin, and to his right
               another rioter uses what appears to be a cattle prod against the
               officers. From 16:48 to 19:20, the camera shifts behind one of the
               doors and the view of Quaglin becomes obstructed.

             o From 19:24 to 19:37, portions of Quaglin’s arm and helmet can
               be seen just behind the rioter directly in front of the camera. (As
               this portion of the video covers the timeframe from around 3:11
               p.m., it corresponds to Exhibit H which captures a better view of
               Quaglin using a stolen shield against law enforcement officers.)

             o From 19:46 to 19:58, Quaglin can again be seen pushing up
               against officers with the stolen riot shield.

             o From 20:04 to 20:06, Quaglin can again be seen pushing up
               against officers with the stolen riot shield as another rioter sprays
               the officers with an orange chemical (meaning Quaglin and the
               others with the shields effectively blocked officers from being
               able to respond to the person spraying them). From 20:07 to
               20:36, the camera shifts again and the view of Quaglin becomes
               obstructed.

             o From 20:36 to 20:46, an unidentified rioter tries to rip the mask
               off the face of an MPD Officer as he pinned in the doorway by a
               separate rioter with a shield. Quaglin can be seen just to the right
               of that rioter pushing up against officers with the stolen riot shield
               (meaning the officers dealing with Quaglin were not able to assist
               the MPD Officer).

             o From 20:47 to 21:04, Quaglin can be seen in the same location at
               the front of the line trying to push through law enforcement as the
               entire group of rioters yell “heave ho” and put their collective
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                                     mass behind him and the others.

                                o From 21:09 to 21:27, MPD Officer is being squashed by that same
                                  rioter with a shield and screams for help. Quaglin is not visible on
                                  the screen, but based on the rest of the video, seems to have
                                  remained to just the right of that rioter.

                                o From 21:28 to 21:55, Quaglin can be seen standing to the right of
                                  that rioter and no longer is pushing against the officers with a
                                  stolen shield.

                                o From 23:04 to 23:59, Quaglin can be seen once again at the front
                                  of the line with a shield but is no longer pushing up against the
                                  line of officers. He stands to the side as the person next to him
                                  tries to talk the officers into going inside to arrest those in
                                  Congress. For the remainder of the video, Quaglin can only
                                  briefly be seen to the side once. Given his position, it is not clear
                                  from this video or other ones currently known to the government
                                  if Quaglin assists in the joint effort of the other rioters in the video
                                  to once again collectively use their might to push against the
                                  officers as a group.


                        •   Exhibit H - Exhibit H is another YouTube video believed to be filmed
                            around 3:11 p.m. based on a comparison to USCP surveillance footage.
                            The video captures the same events shown around 19:24 in Exhibit G at
                            a different angle. Quaglin can be seen using a stolen shield to push up
                            against law enforcement officers. The shield then hits an MPD officer in
                            the side of the neck and face, as Quaglin and other rioters twist the shield
                            to the side.

                        •   Exhibit I- Exhibit I3 is a video posted to Qauglin’s social media account
                            on January 6, 2021. In the video, Quaglin, can be seen walking towards
                            the Capitol and holding a gas mask in the same outfit that Quaglin is seen
                            wearing in the footage described above. Quaglin states “Trump is
                            speaking and everyone is walking there. And I am walking there
                            [showing the Capitol building to camera]. And I am ready [showing his
                            gas mask in hand]. We will see how it goes. Proud of your boy.”
                            (Because the related social media account was deleted shortly afterwards,
                            law enforcement was not able to determine the exact time this video was

3
 In the government’s detention memo, the undersigned mistakenly referred to this video as Exhibit H in paragraph
30, the subsequent video as Exhibit I in paragraph 31, and the final video as Exhibit J in paragraph 32. That was a
mistake. They should have been referred to as Exhibit I, J, and K, as described herein and labeled on the Exhibits
provided to the court.
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            recorded, although it would have been presumably before he reached the
            line and was captured on the BWC in Exhibit A.)

        •   Exhibit J- Exhibit J is a video posted to Qauglin’s social media account
            on January 6, 2021. In the video, shot after Quaglin had returned to his
            hotel and changed out of the red, white and blue hoodie, Quaglin notes:
            “When you guys see the footage, I was the guy in the red, white, and blue
            uhh hoodie and the black helmet…I’m absolutely on a loop on Fox
            News…I got punched pretty good…It was a great time, I got bumps and
            bruises.” In that video, Quaglin appears to be standing in the alleyway
            immediately adjacent to the Motto Hotel at 627 H Street NW,
            Washington, D.C. in the evening hours after the riot on January 6, 2021.

        •   Exhibit K- Exhibit K is a video posted to Qauglin’s social media account
            on January 6, 2021. Quaglin appears shirtless with a large tattoo visible
            on his chest and on his arm as he narrates while cooking a steak in his
            shower. Quaglin states, “It’s the first step . . . I’m exhausted, I’ve been
            pepper sprayed like twenty fucking times, I’m sure I’m going to make the
            news.”




                                          Respectfully
                                          submitted,

                                         CHANNING D. PHILLIPS
                                         Acting United States Attorney
                                         D.C. Bar No. 415793




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